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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

         --------------------------------------------------------- x
                                                                   :
         In re:                                                    : Chapter 11
                                                                   :
         GLOBAL EAGLE ENTERTAINMENT                                : Case No. 20-11835 (JTD)
         INC., et al.,1                                            :
                                                                   : (Jointly Administered)
                             Debtors.                              :
                                                                   :
         --------------------------------------------------------- x

                   NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING ON
                                NOVEMER 5, 2020 AT 2:00 P.M. (ET)

                         ANY PARTY WISHING TO PARTICIPATE IN THE HEARING
                                MUST APPEAR THROUGH COURTCALL.

                                        TO APPEAR TELEPHONICALLY,
                               PARTIES SHOULD CONTACT COURTCALL, LLC
                              AT 844-925-0626 TO REGISTER THEIR APPEARANCE.

         RESOLVED MATTERS

         1.       Motion of Debtors for Entry of Order (I) Extending the Deadline by Which the Debtors
                  May Remove Certain Actions and (II) Granting Related Relief [D.I. 503, 10/14/20]

                  Objection Deadline: October 28, 2020 at 4:00 p.m. (ET)

                  Objections Filed:           None

                  Related Documents:

                           A.        Certificate of No Objection [D.I. 544, 10/29/20]



         1
              The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number are:
              Global Eagle Entertainment Inc. (7800), Airline Media Productions Inc. (2314), Emerging Markets
              Communications, LLC (0735), Entertainment in Motion, Inc. (3908), Global Eagle Entertainment Operations
              Solutions, Inc. (3375), Global Eagle Services, LLC (7899), Global Eagle Telecom Licensing Subsidiary LLC
              (2547), IFE Services (USA), Inc. (2120), Inflight Productions USA, Inc. (8493), Maritime Telecommunications
              Network, Inc. (9974), MTN Government Services, Inc. (6069), MTN International, Inc. (8559), MTN License
              Corp. (0314), N44HQ, LLC (0570), Post Modern Edit, Inc. (6256), Row 44, Inc. (2959), and The Lab Aero, Inc.
              (9831). The Debtors’ address is 1821 E. Dyer Road, Suite 125, Santa Ana, California 92705.
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                        B.      Order (I) Extending the Deadline by Which the Debtors May Remove
                                Certain Actions and (II) Granting Related Relief [D.I. 550, 11/2/20]

                 Status: An order has been entered. No hearing is required.

         2.      Motion of Debtors for Entry of Order (I) Extending the Deadline by Which the Debtors
                 Must Assume or Reject Unexpired Leases of Nonresidential Real Property and (II)
                 Granting Related Relief [D.I. 504, 10/14/20]

                 Objection Deadline: October 28, 2020 at 4:00 p.m. (ET)

                 Objections Filed:     None

                 Related Documents:

                        A.      Certificate of No Objection [D.I. 541, 10/29/20]

                        B.      Order (I) Extending the Deadline by Which the Debtors Must Assume or
                                Reject Unexpired Leases of Nonresidential Real Property and (II) Granting
                                Related Relief [D.I. 551, 11/2/20]

                 Status: An order has been entered. No hearing is required.

         3.      Motion of Debtors for Entry of Order (I) Authorizing Debtors to (A) Reject a Certain
                 Unexpired Lease, Effective as of September 30, 2020, and (B) Abandon De Minimis
                 Property in Connection Therewith, and (II) Granting Related Relief [D.I. 505, 10/14/20]

                 Objection Deadline: October 28, 2020 at 4:00 p.m. (ET)

                 Objections Filed:     None

                 Related Documents:

                        A.      Certificate of No Objection [D.I. 543, 10/29/20]

                        B.      Order (I) Authorizing Debtors to (A) Reject a Certain Unexpired Lease,
                                Effective as of September 30, 2020, and (B) Abandon de Minimis Property
                                in Connection Therewith, and (II) Granting Related Relief [D.I. 552,
                                11/2/20]

                 Status: An order has been entered. No hearing is required.

              4. Motion of Debtors for Entry of Order (I) Amended Case Caption to Reflect Change of
                 Address, Effective as of September 30, 2020, and (II) Granting Related Relief [D.I. 506,
                 10/14/20]

                 Objection Deadline: October 28, 2020 at 4:00 p.m. (ET)
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              Objections Filed:      None

              Related Documents:

                     A.      Certificate of No Objection [D.I. 542, 10/29/20]

                     B.      Order (I) Amending Case Caption to Reflect Change of Address as of
                             September 30, 2020, and (II) Granting Related Relief [D.I. 553, 11/2/20]

              Status: An order has been entered. No hearing is required.

         CONTESTED MATTER GOING FORWARD

         5.   First Monthly Application of Latham & Watkins LLP for Allowance of Compensation for
              Services Rendered and for Reimbursement of Expenses as Co-Counsel to Debtors and
              Debtors in Possession for the Period July 22, 2020 Through August 21, 2020 [D.I. 407,
              9/18/20]

              Objection Deadline: October 8, 2020 at 4:00 p.m. (ET)

              Objections Received:

                     A.      Objection of BMG Rights Management (US), LLC [D.I. 468, 10/8/20]

              Related Documents:

                     A.      Reply of Latham & Watkins LLP in Support of Monthly Fee Application
                             [D.I. 556, 11/2/2020]

              Status: This matter will be going forward.




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        Dated: November 3, 2020          YOUNG CONAWAY STARGATT & TAYLOR, LLP
               Wilmington, Delaware
                                         /s/ Betsy L. Feldman
                                         Michael R. Nestor (No. 3526)
                                         Kara Hammond Coyle (No. 4410)
                                         Betsy L. Feldman (No. 6410)
                                         Rodney Square
                                         1000 North King Street
                                         Wilmington, Delaware 19801
                                         Telephone: (302) 571-6600
                                         Facsimile: (302) 571-1253
                                         Email: mnestor@ycst.com
                                                  kcoyle@ycst.com
                                                  bfeldman@ycst.com

                                         -and-

                                         LATHAM & WATKINS LLP

                                         George A. Davis (admitted pro hac vice)
                                         Madeleine C. Parish (admitted pro hac vice)
                                         885 Third Avenue
                                         New York, New York 10022
                                         Telephone: (212) 906-1200
                                         Facsimile: (212) 751-4864
                                         Email: george.davis@lw.com
                                                madeleine.parish@lw.com

                                         -and-

                                         Ted A. Dillman (admitted pro hac vice)
                                         Helena G. Tseregounis (admitted pro hac vice)
                                         Nicholas J. Messana (admitted pro hac vice)
                                         355 South Grand Avenue, Suite 100
                                         Los Angeles, California 90071
                                         Telephone: (213) 485-1234
                                         Facsimile: (213) 891-8763
                                         Email: ted.dillman@lw.com
                                                helena.tseregounis@lw.com
                                                nicholas.messana@lw.com

                                         Counsel for Debtors and Debtors in Possession




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